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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

Vv. Case No. 8: 23-cr-388
MATTHEW FREDERIC BERGWALL

NOTICE OF APPEARANCE

Comes now, Todd Foster , attorney for the Defendant, and hereby enters this

Notice of Appearance on (his/her/its) behalf in the above-captioned cause.

WAIVER OF DEFENDANT'S PRESENCE AT
ARRAIGNMENT AND ENTRY OF NOT GUILTY PLEA

I, Matthew Bergwall , the above-named defendant, do hereby waive my right to be

present at Arraignment and enter a plea of not guilty to the charges. I hereby state that | have

received a copy of the charging instrument.

—<adp!) Matthew Bergevall

Counsel for De fn Defendant

Date: 11/21/2023

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REQUEST FOR DISCOVERY

Comes now, Matthew Bergwall , by and through his undersigned attorney, and

hereby gives notice that (he/she/it) will participate in all discovery allowed by the Federal Rules of

Criminal Procedure, in the above-captioned cause.
Todd Foster (Bar # 0325198)

601 Bayshore Blvd., Suite615, Tampa, FL 33606

CB) Za

(Counsel for Defendangy
(Address, Phone # & Bar #)

CONSENT TO WAIVER OF DEFENDANT'S PRESENCE AT ARRAIGNMENT
AND RECEIPT OF PLEA OF NOT GUILTY

[hereby accept the Waiver of Defendant's Presence at Arraignment and Entry of Not Guilty
Plea and direct that the plea of not guilty be received for filing. The matter of discovery will be

addressed by separate order.

UNITED STATES MAGISTRATE JUDGE

Date:

CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that a copy of the foregoing has been furnished by CM/ECF
to the Office of the United States Attorney, this 2( day of Novem te , 2028 .

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(/ , Esquire

